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                      ELLIOTT TAYLOR, Ph.D.
                      Principal

EDUCATION
Texas A & M University, College Station: Ph.D., Oceanography, 1984
University of California, San Diego: Graduate Studies, 1977-1979
Universidad Autónoma de Baja California, México: B.S., Oceanography, 1977

PROFESSIONAL HISTORY
POLARIS Applied Sciences, Inc., Principal, 1998-Present
TAYLOR Environmental and Marine Services, Inc., Owner, 1993-1998
Woodward-Clyde Consultants, Senior Project Scientist, 1989-1993
University of Washington: Visiting Scholar (oceanography) and Lecturer (geology), 1989
Texas A & M University: Ocean Drilling Program, Staff Scientist, and Dept. of Geology,
    Assistant Professor, 1984-1989; Dept. of Oceanography, Graduate Research Assistant, 1979-1984
Scripps Institution of Oceanography, UCSD, Laboratory Assistant II, 1977-1979
Universidad Autonoma de Baja California, Teaching Assistant, 1973-1976

REPRESENTATIVE EXPERIENCE
Dr. Taylor is a scientist with over 20 years of experience in environmental and marine sciences. His projects in
oil spill response include implementation and management of the Shoreline Cleanup Assessment Technique
(SCAT) process, planning, regulatory compliance, spill exercises, response evaluation, technical support in
environmental and shoreline assessment, baseline studies, sediment quality and transport, coastal processes and
marine geology. Dr. Taylor has taught undergraduate and graduate level courses in geology and oceanography.
As an International Maritime Organization (IMO) expert consultant, he has been on teams conducting IMO
model courses in oil spill response (OPRC) and has worked on regional and national planning initiatives. Dr.
Taylor’s field experience encompasses river, lake, harbor, coastal and deep-sea programs and spill response
technical support worldwide. His extensive field and laboratory research includes studies of onshore to
offshore marine geology and oceanography. He has provided leadership and management to numerous multi-
disciplinary research programs that required coordinating project teams for both industry and international
scientific programs. Examples of spill response project experience include:

    Scientific support for oiling assessment in emergency response for spill incidents including: Exxon Valdez
     (1989 and follow-up through 2006), Barge 101 Alaska (1992), Greenhill blowout (1992), New Carissa
     (1999), Bolivia Transredes pipeline (2000-2001), Johnson Creek (Oregon) (2004), SOTE Pipeline
     (Papallacta, Ecuador) (2004), Torm Mary (Texas) (2005), Barge PB20 (Washington), Selendang Ayu
     (Alaska, 2004), Barge Millicoma (Oregon-Washington) (2005), Kab 121 Well (PEMEX Gulf of Mexico,
     2007), and Deepwater Horizon MC252 spill (U.S. Gulf of Mexico, April 2010 to present).
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     Contracted oil spill expert to support international missions for IMO, IPIECA, RAC-REMPEITC Carib for
      workshops on environmental risk assessments and national oil spill contingency planning, including SCAT.
      Workshops delivered in Belize, Costa Rica, Nicaragua, St. Vincent-Grenadines, St. Maarten, Anguilla, and
      Equatorial Guinea.

     Technical lead for the American Petroleum Institute on workshops and development of “Assessment of Oil
      Spill Response Capabilities: A Proposed International Guide for Oil Spill Response Planning and
      Readiness Assessment”, presented in a special session of the 2008 International Oil Spill Conference.
      Developed an international spill response readiness assessment manual and tool (RETOS) as part of an
      ARPEL initiative for this same program.

     Principal lead in development of the Gulf of Mexico Regional Oil Spill Contingency Plan for PEMEX
      Exploration and Production. Effort entailed shoreline sensitivity atlas, logistics and spill equipment
      database, plan analysis and integration with platform (Tier 1) emergency plans, and recommended
      additional spill response resources and locations. Project encompassed all of PEMEX Exploration and
      Production activities in the Gulf of Mexico (platforms, pipelines, marine terminals, and floating storage
      systems – FSO, FSPOs).

     Technical leader for coastal environmental sensitivity mapping and spill response atlas for proposed marine
      terminal in north British Columbia (Canada) and for river tactics along proposed pipeline route from
      Alberta.

     Expert review of marine spill response capability assessment of Mexico (Navy and PEMEX) representing
      the International Maritime Organization through the RAC-REMPEITC Carib office.

     Technical Leader for Exxon Neftegas Ltd. for Sakhalin I regional and facility oil spill contingency plans,
      equipment readiness, training, and implementation. Project encompasses production alongshore and
      offshore, on-land and submarine pipelines and flowlines, processing facilities, and marine terminal for
      conditions ranging from open water to ice-covered operations.

     Spill planning expert on review team for European Bank for Regional Development (EBRD) and Lender’s
      assessment of spill response readiness (plans and implementation) for Caspian Sea development, including
      ACG Offshore operations and BTC pipeline operations in Azerbaijan, Republic of Georgia, and Turkey.

     Principal lead in development of the Qatar spill response preparedness program, entailing an Oil Spill
      Contingency for the State of Qatar, audit of existing capabilities and preparation of recommendations for
      equipment, personnel, and training, development of the Halul Marine Terminal Spill Response Plan,
      development of the Qatar Coastal Sensitivity and Oil Spill Atlas, and formulation of the Qatar Spill
      Response Centre.

     Key member of team for preparation of the Sakhalin Energy Corporate Oil Spill Response Plan and
      template for seven area plans (offshore, pipeline, and terminals), including the Spill Response Plan for the
      Molikpaq Platform.

     Response Plan Coordinator for more than 100 oil spill contingency plans and spill prevention plans
      developed to support vessel owners and facility operators throughout the U.S. and Canada. Plans
      formulated to address state requirements, OPA 90, and/or the Canadian Shipping Act for vessels, marine-
      transportation related facilities, inland facilities, pipelines, and mobile facilities.
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     Developed the Chad/Cameroon General Oil Spill Response Plan, Construction Phase Spill Plans for Chad
      and Cameroon, and six Area-Specific Spill Response Plans for the 1000 km pipeline route, oil field areas,
      and offshore terminal. Formulated equipment recommendations and specifications and also developed and
      implemented a 3-year spill training and exercise regime.

     IMO-certified trainer on oil spill response having provided OPRC Model courses (Level 2) for the SE
      Pacific Regional Seas program (Chile, Peru, Ecuador, Colombia, Panama) and Caribbean Regional Seas
      program, in Spanish.

     Technical trainer for oil spill response planning, incident command system, and shoreline assessment, and
      facilitator in the design and implementation of spill response tabletop and field exercises. Courses and
      exercises have been provided to Burrard Clean, ExxonMobil, Chevron, Valero, Trumble, PDVSA, Crowley
      Marine Services, Southern Peru Copper, Captains of Ports Venezuela, Canadian Coast Guard,
      PetroEcuador, PEMEX, Taiwan EPA, and others.

     Senior Project Coordinator for the development of oil and acid spill response capabilities for Southern Peru
      Copper, Ltd. Operations at port coastal facilities, railroad right-of-way, and two remote Andean mine sites.
      Program includes specification and requisitioning of spill response equipment, vessels and HAZMAT
      trailers, preparation of prevention and response manuals, and training and exercises for field teams and
      company management.

     Senior Project Coordinator for the development of oil spill response plans and manuals for cleanup
      organizations, including Clean Sound (WA), Burrard Clean (British Columbia), Great Lakes Response
      Corp., Eastern Canada Response Corp., ALERT (New Brunswick), and Alaska Chadux Corp.

     Project Manager for the development of oil spill prevention and contingency plan training programs, for
      facilities and vessels, in Texas, California, Washington, Oregon, and Alaska. Projects entailed preparation
      of course curricula, handouts, train-the-trainers programs, supplementary training videotapes, tabletop
      exercises, and exercise evaluation guidelines.

PUBLICATIONS (Environmental Issues)

Owens, E., TAYLOR, E., O’Connell, K. and Smith, C. 2009. Waste Management Guidelines for Remote
  (Arctic) Regions. Proc. of the 32nd Arctic and Marine Oil Spill Program Tech. Sem., June 9-11, Vancouver,
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TAYLOR, E., Steen, A., Meza, M., Couzigou, B., Hodges, M., Miranda, D., Ramos, J., and Moyano, M., 2008.
  IOSC Workshop Report: A Proposed International Guide for Oil Spill Response Planning and Readiness
  Assessment. Proc. 2008 International Oil Spill Conference, API Publ. I47190, Washington, DC., p. 1-18.

TAYLOR, E. and Reimer, D., 2008. Oil persistence on beaches of Prince William Sound – A review of
  SCAT surveys conducted from 1989 to 2002. Marine Pollution Bull., 56, p. 458-474.

Owens, E.H., TAYLOR, E., 2007. Guidelines to Evaluate Oil Spill Contingency Plan Adequacy, Response
  Competency, and Sustained Readiness. Proceedings SPE Asia Pacific Health, Safety, Security and
  Environment Conference and Exhibition, Bangkok, Thailand. 6 pp.
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Owens, E., TAYLOR, E., and Parker-Hall, H., 2007. Chapter 2. Spill site investigation in environmental
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TAYLOR, E. and Reimer, D., 2005. SCAT Surveys of Prince William Sound Beaches - 1989 to 2002. Proc.
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  program for oils and bulk hazardous liquids- Southern Peru Copper Corporation. Proc. 2001 International
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TAYLOR, E. and Green, M., 2001. Spill response exercises and lessons learned. In: Proc. of the 24th Arctic
  and Marine Oil Spill Program Tech. Sem., June 12-14, Edmonton, Env. Canada., p.117-130.

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  In: Proc. of the 22th Arctic and Marine Oil Spill Program Tech. Sem., June 2-4, Calgary, Env. Canada.,
  p.705-718.

TAYLOR, E. and Egland, L., 1998. Marine spill response planning for the non-persistent oil transportation
  industry in Alaska. In: Proc. of the 21th Arctic and Marine Oil Spill Program Tech. Sem., June 10-12,
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  International Oil Spill Conference. API. Washington, DC., p.79-87.

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  the 17th Arctic and Marine Oil Spill Program Tech. Sem., June 10-14, Vancouver (BC)., Env. Canada.,
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     human health effects from inland freshwater oil spills. In: Proc. of the 17th Arctic and Marine Oil Spill
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   adverse environmental impacts. In: Proc. 1993 International Oil Spill Conference, API, Washington, DC. p.
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ARPEL, 2011. Oil Spill Response Planning and Readiness Assessment Manual (and RETOS Excel Tool). Lead
  author- Elliott Taylor. Developed through funding from the Canadian International Development Fund
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  la Evaluación de Planes y Preparativos para Respuesta a Derrames de Hidrocarburos, Informe Técnico
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  Respuesta, Lucha y Control de la Contaminación Marina Causada por Derrames de Hidrocarburos. Report
  for the International Maritime Organization. IMO PROGRAMME PG-626.

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    Approval. Prepared for Burrard Clean Operations, Western Canada Marine Response Organization.

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AFFILIATIONS
American Geophysical Union
The Oceanography Society
Marine Technology Society
COMMITTEES
ASTM Committee F-20 (Oil Spill)
Scientific Advisory Committee for California Oiled Wildlife Care Network (2000-2004)
Sound Experience Board of Directors and Education Committee Chairman (2004-2008)

OTHER SKILLS
Bilingual: English/Spanish
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 Oiling Categories Reported by SCAT Teams as of 5/15/2010




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 Oiling Categories Reported by SCAT Teams as of 6/15/2010




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 Oiling Categories Reported by SCAT Teams as of 7/15/2010




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